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                                                               Page 5                                                            Page 7
      1            UNITED STATES DISTRICT COURT                          1             IT IS HEREBY STIPULATED AND AGREED by and
      2            EASTERN DISTRICT OF MISSOURI                          2   between counsel for the Plaintiff and counsel for the
      3                 SOUTHEASTERN DIVISION                            3   Defendant that this deposition may be taken in
      4                                                                  4   shorthand by Sarah J. Pokorski, CCR, a Certified Court
      5   ROBIN MESEY and JENNIFER MESEY, )                              5   Reporter and Notary Public, and afterwards transcribed
      6          Plaintiff,          )                                   6   into typewriting; and the signature of the witness is
      7   vs.                    )                                       7   expressly reserved.
      8   CITY OF VAN BUREN, MISSOURI, et ) 1:19-CV-71 SNLJ              8
      9   al,                    )                                       9                 *****
     10          Defendant.              )                              10
     11                                                                 11               ALONZO BRADWELL,
     12                DEPOSITION OF ALONZO BRADWELL, produced,         12   Of lawful age, produced, sworn and examined on behalf
     13   sworn and examined on OCTOBER 30, 2020, between the           13   of the plaintiff, deposes and says:
     14   hours of eight o'clock in the forenoon and six o'clock        14
     15   in the afternoon of that day, at the Phelps County            15     (Starting time of the deposition: 12:11 p.m.)
     16   Courthouse, 200 North Main Street, Skyroom, Rolla,            16
     17   Missouri 65401, before Sarah J. Pokorski, a Certified         17               DIRECT EXAMINATION
     18   Court Reporter and Notary Public within and for the           18   QUESTIONS BY MR. SCHOTTEL:
     19   State of Missouri, in a certain cause now pending in          19     Q. Could you state and spell your full name,
     20   the United States District Court, Eastern District of         20   please.
     21   Missouri, Southeastern Division, between ROBIN MESEY          21     A. Alonzo Bradwell. A-L-O-N-Z-O. Last name
     22   and JENNIFER MESEY, Plaintiff vs. CITY OF VAN BUREN,          22   Bradwell. B-R-A-D-W-E-L-L.
     23   MISSOURI, et al, Defendant; on behalf of the                  23     Q. All right. And can you state and spell your
     24   Plaintiff.                                                    24   current business address.
     25                                                                 25     A. P.O. Box 40, Van Buren, Missouri 63965.


                                                               Page 6                                                            Page 8
      1                APPEARANCES                                       1      Q. Is there an actual street outside of a P.O.
      2
      3   For the Plaintiff:                                             2   Box for the department?
          Schottel & Associates                                          3      A. Due to the flood, we're in a disaster trailer
      4   James W. Schottel, Jr.
          906 Olive Street, PH                                           4   still.
      5   St. Louis, Missouri 63101                                      5      Q. Oh, okay.
          314-421-0350
      6   jwsj@schotteljustice.com                                       6      A. So we have 1301 Main Street that we use for
      7                                                                  7   like UPS packages, which is next to City Hall.
      8   For the Defendant:
          Keck Phillips                                                  8      Q. Oh, okay.
      9   Ty Z. Harden                                                   9      A. But outside of that, we -- no.
          3140 East Division Street
     10   Springfield, Missouri 65802                                   10      Q. All right. Thanks for the clarification.
          417-890-8989                                                  11   I'm sorry. What was the zip code of Van Buren?
     11   ty@kpwlawfirm.com
     12                                                                 12      A. 63965.
     13   Fisher Patterson Sayler & Smith                               13      Q. Okay. Chief Bradwell, my name is James
          Joshua C. Grumke
     14   1010 Market Street                                            14   Schottel, Jr. I represent Jennifer and Robin Mesey in
          Suite 1650                                                    15   this case. It's against the City of Van Buren,
     15   St. Louis, Missouri 63101
          314-561-3675                                                  16   yourself, and Charles Roper. I'm sure you're well
     16   jgrumke@fpsslaw.com                                           17   aware of that by now. The case has been going on for
     17
     18   Court Reporter:                                               18   some time. I'll be asking you a series of questions.
          Sarah J. Pokorski, CCR                                        19   Try to speak up. I usually talk low; but during
     19   Missouri CCR No. 745
          Alaris Litigation Services                                    20   these, the court reporter's going to be taking
     20   711 North Eleventh Street                                     21   everything down. And because of that, please try to
          St. Louis, Missouri 63101
     21   314-644-2191                                                  22   refrain from answering a question by nodding your
          1-800-280-DEPO                                                23   head, and voice your answer, even if it's a yes or no.
     22
     23                                                                 24   And uh-huh and uh-uhs don't look good on the
     24                                                                 25   transcript, so I might ask you to -- say is that a
     25


                                                                                                                   2 (Pages 5 to 8)
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      1   yes, or is that a no. But hopefully once you get the         1   Summersville.
      2   hang of it, we'll get beyond that. If you do not             2     Q. And what was the one after Van Buren? Could
      3   understand a question, simply ask me to repeat it or         3   you spell that for us and the court reporter.
      4   rephrase it, and I'll be happy to do that for you.           4     A. City of Summersville.
      5   Sometimes us lawyers, our brains go faster than our          5   S-U-M-M-E-R-S-V-I-L-L-E.
      6   mouths, and the question sounds good to us inside, but       6     Q. And what was the other one?
      7   it doesn't come out the right way. Have you had your         7     A. Eminence? Is that -- that the one you're
      8   deposition taken before?                                     8   asking me?
      9     A. Yes.                                                    9     Q. Yeah. Could you spell that.
     10     Q. About how many times?                                  10     A. E-M-I-E-N-I-C-E. No. Hold on. Sorry. I
     11     A. Roughly five.                                          11   work there very rarely. So --
     12     Q. Okay. And would that have been in relation             12          MR. HARDEN: You've got -- Eminence.
     13   to your work as a law enforcement officer?                  13   You've got it; right, Sarah?
     14     A. Yes.                                                   14          MR. SCHOTTEL: I don't have it.
     15     Q. And would those roughly five depositions --            15          MR. HARDEN: E-M-M --
     16   were those relating to criminal cases?                      16          THE WITNESS: No.
     17     A. Yes.                                                   17          MR. HARDEN: -- I-N-E-N-C-E.
     18     Q. And a question I have to ask of everyone --            18          MR. GRUMKE: It's one M.
     19   no offense -- are you presently under the influence of      19          MR. HARDEN: It's just one?
     20   any substance, drug, whether prescription or                20          THE WITNESS: Yes.
     21   non-prescription, that would affect your ability to         21          MR. HARDEN: Oh, there you go.
     22   understand my questions or give testimony today?            22          MR. SCHOTTEL: See, that's what I was
     23     A. No, sir.                                               23   confused about.
     24     Q. Did you review any documents, or photographs,          24          MR. HARDEN: Really? Got me. I know
     25   or anything else in preparation of your deposition          25   that's where the Ozark Trail starts, somewhere around


                                                         Page 10                                                          Page 12
      1   today?                                                       1   there. I always think I'm going to jump on it, and I
      2      A. Just information with my attorney.                     2   haven't yet. Sorry. But --
      3      Q. I'm not talking about any attorney/client              3          MR. SCHOTTEL: That's all right.
      4   discussions or anything. I'm talking actual physical         4     Q. (BY MR. SCHOTTEL.) What kind of work do you
      5   documents, pictures, or anything like that. Did you          5   do for City of Eminence?
      6   take a look at anything?                                     6     A. Reserve officer.
      7      A. I believe I looked at the incident report              7     Q. Okay. And what kind of work do you do for
      8   from the Carter County Sheriff's Department last week        8   the City of Summersville?
      9   when we were trying to figure out this -- when to do         9     A. Reserve officer.
     10   this deposition.                                            10     Q. Okay. And can you briefly describe what it
     11      Q. Oh, okay. And are you talking about the               11   is a reserve officer does, or --
     12   thick entire investigation file? Or just the report?        12     A. So the City of Summersville, if there is
     13      A. Just the incident report.                             13   someone who is unavailable to work -- for example, a
     14      Q. Incident report. And do you remember who              14   full-time employee -- a reserve officer would be
     15   authored that incident report?                              15   called in to see if they can work or cover that shift.
     16      A. I believe it was Chief Deputy Justin Eudaley.         16     Q. All right. How long have you been a reserve
     17      Q. Okay. And who is he with?                             17   officer for City of Eminence?
     18      A. Carter County Sheriff's Department.                   18     A. Two years.
     19      Q. Okay. And what's your date of birth?                  19     Q. Same question. How long have you been a
     20      A. 11/6/1989.                                            20   reserve officer for the City of Summersville?
     21      Q. And what's the highest grade of education             21     A. Since 2013, I believe.
     22   you've completed?                                           22     Q. Okay. When did you first become chief of
     23      A. Some college.                                         23   police for the City of Van Buren?
     24      Q. Okay. And who is your present employer?               24     A. January 1st, 2019.
     25      A. City of Van Buren, City of Eminence, City of          25     Q. Did you work for the City of Van Buren Police



                                                                                                              3 (Pages 9 to 12)
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      1   Department prior to becoming chief?                         1     A. I held different ranks.
      2      A. I did.                                                2     Q. Right. That's what I meant.
      3      Q. And immediately prior to January 1, 2019,             3     A. Okay.
      4   what was your position with the police department?          4     Q. Sorry.
      5      A. Full-time officer.                                    5     A. The -- starting out, I was a reserve officer,
      6      Q. Full-time officer?                                    6   then a full-time officer, then the corporal, then the
      7      A. Yes, sir.                                             7   chief of police.
      8      Q. How did you become chief? Was there an                8     Q. And I'm not going to put you through the pain
      9   application process? Were you nominated? Did you            9   of trying to remember which period you served when.
     10   have -- what were the steps?                               10   How about what year did you start working for the
     11      A. I had applied for it. There was an interim           11   Winona City Police Department?
     12   chief at the time. I went through an interview with        12     A. 2012, I believe.
     13   the council and the mayor, and I was subsequently          13     Q. Okay. And did you work for any other police
     14   appointed to the position.                                 14   departments prior to Winona in 2012?
     15      Q. At the time you interviewed, how many members        15     A. I -- I can't remember if it was '12 or 2013
     16   were on the council? If you remember.                      16   that I was a reserve at Summersville. So there could
     17      A. The same as there are now. There are four            17   be employment record for Summersville --
     18   council members and the mayor.                             18     Q. Okay.
     19      Q. Okay. When did you -- in what year did you           19     A. -- as a reserve officer. But other than
     20   first begin working for the Van Buren Police               20   that, no.
     21   Department?                                                21     Q. All right. And where did you attend the
     22      A. In 2018, just -- just prior.                         22   police academy?
     23      Q. And did you start out as a full-time officer?        23     A. Missouri State University, West Plains. The
     24      A. No, sir.                                             24   sheriff's academy.
     25      Q. No? Okay. What did you start out with the            25     Q. Okay. And in what year did you attend that?


                                                           Page 14                                                       Page 16
      1   Van Buren Police Department?                                1     A. From 2011 to 2012.
      2     A. It was a part-time position as I transferred           2     Q. Okay. And how long was that program?
      3   from another agency over, and which quickly led into a      3     A. I believe it was 11 months.
      4   full-time position.                                         4     Q. Okay. And I'm assuming you got your
      5     Q. Okay. So were you -- were you like a reserve           5   certificate from there.
      6   officer, or just a part-time officer?                       6     A. Yes, sir.
      7     A. I was a part-time officer.                             7     Q. And from 2011 to current, have you ever
      8     Q. Okay. And do you remember what month in 2018           8   worked any secondary positions?
      9   that was?                                                   9     A. I don't understand the question.
     10     A. I don't.                                              10     Q. Secondary positions means like bars,
     11     Q. What police department did you transfer from?         11   restaurants, things like that where they may need
     12     A. I was the chief of police for the City of             12   additional law enforcement officers outside of the
     13   Winona.                                                    13   regular work.
     14     Q. And why did you leave that position?                  14     A. I -- I've never worked as an officer in
     15     A. We -- my family and I wanted to move to               15   something other than a law enforcement agency. No.
     16   Carter County.                                             16     Q. Okay. It's more of a common thing in
     17     Q. Okay. How long were you the chief of police           17   St. Louis. There's secondary and different, you know,
     18   for Winona?                                                18   areas of -- wherever extra police might -- might be
     19     A. Since 2014.                                           19   needed in the social domain. Like I said, bars,
     20     Q. Is that -- you said that's Winona County?             20   restaurants. So that's why I asked the question.
     21     A. Winona city.                                          21     A. Okay.
     22     Q. Winona city? I'm sorry.                               22     Q. Wasn't trying to confuse you.
     23     A. In Shannon County.                                    23     A. We don't have that in our area, so I didn't
     24     Q. Okay. Did you hold other positions of                 24   understand the question.
     25   employment with the Winona City Police Department?         25     Q. Okay. No problem. Well, that would make



                                                                                                         4 (Pages 13 to 16)
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      1   sense why you didn't understand. Since you became          1      Q. Okay. So Charles Roper was hired when you
      2   chief of police with the City of Van Buren, is one of      2   were chief of police?
      3   your duties to hire new police officers?                   3      A. Yes, sir.
      4      A. Yes, sir.                                            4      Q. Okay.
      5      Q. And can you just briefly describe your               5      A. As a training reserve.
      6   process for hiring new police officers.                    6      Q. Okay. Training reserve officer? Is that
      7             MR. HARDEN: And let me just go ahead and         7   what it was?
      8   make this statement now, just so we're clear, and --       8      A. Yes, sir.
      9             MR. SCHOTTEL: Well, I meant --                   9      Q. Can you describe what that is.
     10             MR. HARDEN: No. You're good.                    10      A. With initial training, we -- may I rephrase?
     11             MR. SCHOTTEL: -- involving with the             11      Q. Sure.
     12   city --                                                   12      A. I would hire an officer who has met the
     13             MR. HARDEN: No. You're fine. I just want        13   qualifications through the interview process for
     14   to put this on the record, if you don't mind.             14   on-the-job training. If they make it through that, at
     15             MR. SCHOTTEL: Sure.                             15   that point, they would be listed as a reserve officer
     16             MR. HARDEN: For my sake, no one else's.         16   ready to be called in. At that time, Mr. Roper was
     17   Today, Chief Bradwell was noticed in his official         17   still in training.
     18   capacity as the chief of police for deposition. He        18      Q. And when you say at the time -- at the time
     19   was not offered today or designated as a corporate        19   of the incident subject to the case when he shot the
     20   representative for the City or the police department,     20   Meseys' dogs, he was a training reserve officer?
     21   and he's not testifying in that capacity today, and       21             MR. HARDEN: Just object to form.
     22   plaintiff's counsel and I had that understanding. I       22             THE WITNESS: He -- he held that position.
     23   just wanted to make sure that was on the record.          23   Yes. He was not training when that incident happened.
     24   Thank you, Mr. Schottel.                                  24      Q. (BY MR. SCHOTTEL.) Okay. I guess that was a
     25             MR. SCHOTTEL: Yeah. And that's why I            25   bad question. But that was the position that he held


                                                          Page 18                                                       Page 20
      1   wanted to clarify that wasn't -- I wasn't asking about     1   at the time of the incident in this case?
      2   the city.                                                  2      A. Yes, sir.
      3             MR. HARDEN: And you're not.                      3     Q. All right. Do you remember when Mr. Roper
      4      Q. (BY MR. SCHOTTEL.) Just your individual              4   began holding that position?
      5   process.                                                   5      A. I believe his oath of office was the end of
      6      A. Outside of police department? Is that --             6   January, beginning of February, in that time frame. I
      7      Q. No. Just as you're in your function as               7   can't remember the exact date.
      8   sheriff, individually.                                     8     Q. Yeah. I'm not --
      9      A. I'm the chief of police.                             9      A. Okay.
     10      Q. Or I'm sorry. I said sheriff. My apologies.         10     Q. -- trying to tie you down to an exact date.
     11   As the chief, what is your hiring process?                11   Just --
     12      A. So I have, generally speaking, at that time,        12      A. Yeah.
     13   being as I was just taking over, I -- my process then     13     Q. -- month -- yeah. That was -- and the
     14   was to look over application, check their POST license    14   process that you mentioned before about reviewing
     15   to make sure that they're up to date on all their         15   applications and then presenting it to a council when
     16   training required by the State, and call references,      16   you go to hire an officer, did any of that happen or
     17   and then do an interview. Then I would present it to      17   occur before Charles Roper became a training reserve
     18   our council and mayor as either a recommendation, or I    18   officer?
     19   would recommend an officer to go to work for me or not    19      A. They were notified, and they had no
     20   to go to work for me.                                     20   objections.
     21      Q. Okay. And Officer Charles Roper, was he on          21     Q. Okay. How long is the training reserve
     22   the force at the time you became chief of police?         22   period?
     23      A. No.                                                 23      A. Then, it would have been at the
     24      Q. Okay.                                               24   recommendation of full-time officers that he trained
     25      A. He had been prior to -- to me.                      25   with. At that point, when they stated to me that they



                                                                                                        5 (Pages 17 to 20)
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      1   felt that he was ready to go back and be a reserve --        1   to me that he was acting while on duty; and it was not
      2   or to be a reserve, then I would do a ride-along             2   Officer Roper that was involved in this, in my
      3   training with them --                                        3   opinion.
      4     Q. Uh-huh.                                                 4      Q. (BY MR. SCHOTTEL.) But Charles Roper?
      5     A. -- and quiz them on the streets, quiz them on           5      A. Yes.
      6   how-to on certain incidents. And then they would be          6      Q. And I'm sorry. Even -- I didn't clarify. By
      7   put on the reserve list if I felt that they were ready       7   your earlier testimony, he was not an officer anyway
      8   to do that.                                                  8   with the department yet. He was a training --
      9     Q. Okay. So you didn't have a specific time                9      A. He was a training reserve officer.
     10   frame. What you're testifying to is that it's -- it's       10      Q. Training reserve officer. When Mr. Roper
     11   on an individual, person-by-person basis.                   11   became a training reserve officer, was he given any
     12     A. At the time, I was brand new to the                    12   equipment to use by you or the department?
     13   department as their chief, and there's a lot of             13      A. I -- I do not believe so. When -- when I
     14   process that I was still working on to make official.       14   hear equipment, when it comes to a new hire, I would
     15     Q. Okay. And you said at that time. So did you            15   say badge, commission card, vest, gun, things like
     16   change that aspect?                                         16   that. I don't recall ever -- I know he didn't have a
     17     A. I had completed what I was working on. Yes.            17   badge, a commission card, or a department firearm. In
     18     Q. Okay. So by your testimony, is it fair to              18   regards to any other equipment, I -- I don't recall
     19   say once you became chief of police, you kind of            19   that. I don't know.
     20   reviewed everything, and had your own ideas on what         20      Q. Okay. What does -- what does an officer do
     21   you wanted to assess, or how you wanted things to run       21   as a training reserve officer?
     22   in the department?                                          22      A. They train with a full-time officer.
     23     A. I think it's important for me to review                23      Q. Okay. Out on the streets?
     24   current policies and current procedures, budgets,           24      A. Yes.
     25   everything, before making a complete decision on any        25      Q. Are -- when they're training out on the


                                                            Page 22                                                             Page 24
      1   ideas that I do have. I had plenty of ideas, but I           1   streets with a full-time officer, are they supposed to
      2   wanted to make sure it would match with the department       2   be carrying a weapon at that time?
      3   at the time.                                                 3     A. Yes. They're -- through the State of
      4     Q. Okay. And if you had policies with respect              4   Missouri, they're a law enforcement officer still.
      5   to police practices, did you have to present them to         5     Q. Right.
      6   the council or the mayor for approval?                       6     A. With us, they're training. So thus, they can
      7     A. Yes.                                                    7   still carry a firearm, as long as they have been
      8     Q. Okay. I'm sorry. Bear with me just a                    8   previously qualified, or still up to date with the
      9   second.                                                      9   firearm requirements for the State for POST licensing.
     10          MR. HARDEN: You're fine.                             10     Q. And to the best of your recollection, at that
     11     Q. (BY MR. SCHOTTEL.) And you're familiar with            11   time when he was a training reserve officer, was
     12   the -- the claims that the Meseys are making in this        12   Charles Roper qualified to carry a weapon?
     13   case; are you not?                                          13     A. He was. He was qualified by the Ripley
     14     A. Yes.                                                   14   County Sheriff's Office, where he also held a position
     15     Q. Okay. The incident subject to this case                15   at that time.
     16   involved the shooting of the Meseys' dogs by Officer        16     Q. Okay. Now, as a training reserve officer,
     17   Charles Roper. Is that fair to say?                         17   did you or the department provide Charles Roper with a
     18     A. Can you re-ask that question, please.                  18   gun to carry when he was out in the streets with a
     19     Q. Okay. The claims involved in this case are             19   full-time officer?
     20   the shooting of the Meseys' dogs by Officer Charles         20     A. No.
     21   Roper. Is that a fair statement?                            21     Q. Were -- was a training reserve officer
     22          MR. HARDEN: Just object to form. Go                  22   required to purchase their own gun? Or were they
     23   ahead.                                                      23   given an option?
     24          THE WITNESS: I would -- I would say that             24     A. As a training reserve, they're given -- I
     25   the incident involved Charles Roper. Officer implies        25   mean, we don't have a firearm to give them.



                                                                                                           6 (Pages 21 to 24)
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      1     Q. Okay.                                                     1   for me to understand. When I see a duty belt, it's
      2     A. We have three Glock pistols at our                        2   difficult to take so many things off. So his duty
      3   department, and those are used by our full-time                3   belt and firearm as a whole was approved.
      4   officers.                                                      4      Q. Okay.
      5     Q. Okay.                                                     5      A. Okay.
      6     A. All other firearms for a training officer --              6      Q. So you don't know specifically -- it could
      7   or trainee officer -- reserve officer -- we would have         7   have had mace, I guess, in it.
      8   allowed them to carry a firearm that they were                 8      A. He did have mace. Yes.
      9   qualified with, but we did not provide one.                    9      Q. He did have mace?
     10     Q. In your opinion, and -- scratch that. In                 10      A. I believe so. I'd have to -- again, I --
     11   your opinion, if a training reserve officer is on the         11   I -- that was a long time ago. I'd have to --
     12   streets with a full-time officer, would it be -- would        12      Q. Right.
     13   it be the safest and best idea that the training              13      A. -- I guess go back and try to see if I can
     14   reserve officer do have a weapon to carry while on the        14   remember. I don't know.
     15   streets?                                                      15      Q. Yeah. But you would have kept a record of
     16          MR. HARDEN: Object to form.                            16   that?
     17          THE WITNESS: In -- in most cases. Yes.                 17      A. No.
     18     Q. (BY MR. SCHOTTEL.) When Charles Roper was a              18      Q. No? Okay. Based upon your sitting here
     19   training reserve officer, and when he was on the              19   today, is there anything else that you can remember
     20   streets with a full-time officer, do you know whether         20   that Charles Roper was carrying as a training reserve
     21   or not he was carrying a firearm?                             21   officer?
     22     A. He was.                                                  22      A. I cannot recall.
     23     Q. Okay. And how do you know he was?                        23      Q. Okay. What about uniform? Do you remember
     24     A. Because I approved it.                                   24   or not whether you had a uniform for him at that time?
     25     Q. Okay. And how did that approval process go?              25      A. I don't think we had a uniform. I cannot


                                                              Page 26                                                           Page 28
      1      A. During the hiring process of the -- and                  1   remember. But as a trainee, usually I would have the
      2   scheduling of the training reserve to go out with an           2   trainees dress in a plain polo with khaki pants,
      3   officer, I have to approve any equipment that they do          3   without any logos or anything like that on them.
      4   have with them. I approved his 1911 pistol that he             4     Q. Okay.
      5   had been using for the Ripley County Sheriff's Office          5     A. But I don't remember exactly that situation.
      6   and qualified with at that time.                               6     Q. All right. Fair enough. At the time you
      7      Q. Okay. What about when it comes to handcuffs?             7   became chief, did -- did you require any new hires to
      8   What's the position with respect to you and training           8   go through any kind of firearm training or any
      9   officers carrying handcuffs? Do you provide those, or          9   exercises?
     10   do they provide -- they get their own?                        10     A. Our department does firearms training once a
     11      A. Only equipment that we have the capability of           11   year in the summer.
     12   providing would be a bullet-proof vest, a badge, and a        12     Q. Okay.
     13   commission card, and uniforms, generally. Again, we           13     A. So on new hires, as long as they were
     14   went through a flood, and lost most of our things, so         14   compliant with POST requirements for firearm hours,
     15   we were rebuilding at that time.                              15   then they would wait for our firearms qualification.
     16      Q. Okay. Do you know if Charles Roper had                  16     Q. Okay.
     17   handcuffs as a training reserve officer?                      17     A. For Mr. Roper, he had completed his firearms
     18      A. He did.                                                 18   training out of Ripley County.
     19      Q. Okay. And would he have to get those                    19     Q. All right. So if an officer -- or -- he
     20   approved through you?                                         20   wasn't an officer. But a person like Charles Roper
     21      A. All his equipment that he carried was                   21   who had previous law enforcement experience, you would
     22   approved.                                                     22   take that into consideration because he would have I
     23      Q. Okay. And outside of the handcuffs and the              23   guess done certain things that you may have required
     24   pistol, did he get anything else approved through you?        24   him to, but he had already done the previous --
     25      A. It's -- the way you're asking me is difficult           25     A. I verified that he did complete those hours.



                                                                                                              7 (Pages 25 to 28)
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      1   Yes.                                                         1     A. Okay. They are allowed to carry expandable
      2     Q. Okay. But I wasn't trying to trick you or               2   batons. That's what's taught in the academy.
      3   just nail -- narrow it down to Roper. I was just             3     Q. Okay.
      4   saying you, that's what you do generally when you look       4     A. Usually.
      5   at the new hires, or someone new you're bringing in.         5     Q. Is there any kind of training course or
      6     A. Yes. I -- I verify to make sure they're                 6   anything that your department provides with respect to
      7   compliant with their POST licensing in the state, at         7   mace?
      8   which point I go through their equipment, make sure          8     A. No.
      9   that I approve those. And if they are still in               9     Q. Okay.
     10   compliance outside of our agency's firearms                 10     A. We personally do not do that. No.
     11   qualification, then they will be made to wait for that      11     Q. All right.
     12   qualification.                                              12     A. Can I clarify that, a little bit?
     13     Q. Okay. You referenced a duty belt. And I'm              13     Q. Sure.
     14   not asking specifically to Charles Roper. But I've          14     A. When I said we personally, I meant our
     15   seen duty belts. I'm not a police officer. So if you        15   department does not have instructors that teach that.
     16   could enlighten me, what kinds of equipment can a duty      16     Q. Okay. How did you first hear about the
     17   belt carry?                                                 17   incident with Charles Roper and the shooting of the
     18     A. Generally speaking, firearms, handcuffs, less          18   Meseys' dogs?
     19   lethal devices, cell phone holders.                         19     A. From Officer Dyer.
     20     Q. Yeah.                                                  20     Q. And could you spell that.
     21     A. You know, every duty belt's slightly                   21     A. D-Y-E-R.
     22   different, depending on the person.                         22     Q. And is he with the Carter County Sheriff's
     23     Q. Now, way back in the day -- I'm dating myself          23   Department?
     24   here. But they used to call it a night stick. But           24     A. He's with my department.
     25   there's different names for it now. Do you know what        25     Q. Oh, he's with your department. Okay. And


                                                            Page 30                                                          Page 32
      1   I'm talking about, with a handle that --                     1   how did he notify you about the incident?
      2      A. It's still a night stick.                              2     A. By calling me on my cell phone.
      3     Q. It's still a night stick? Okay.                         3     Q. Okay. Did he call you on the same day it
      4     A. There's different types of -- I think what              4   occurred?
      5   you're referring to would be an ASP, where it's              5     A. While he was on scene. He had just arrived.
      6   expandable, rather than fixed.                               6     Q. Okay. And did Charles Roper come to see you
      7     Q. Okay. So there's two types of them? One you             7   immediately after this incident?
      8   can expand --                                                8          MR. HARDEN: Object to form.
      9     A. I'm sure that there's plenty more --                    9     Q. (BY MR. SCHOTTEL.) Scratch the immediately.
     10     Q. Probably more?                                         10          MR. HARDEN: Good.
     11      A. -- than two. But those are the --                     11          THE WITNESS: Mr. Roper did come to see me.
     12      Q. The ones you're aware of, or --                       12   Yes.
     13      A. Yeah.                                                 13     Q. (BY MR. SCHOTTEL.) And are you aware of what
     14      Q. Yeah. I envision the one with a handle.               14   happened with his weapon after the incident, after he
     15      A. Uh-huh.                                               15   shot the dogs?
     16      Q. And it's one piece.                                   16     A. Everything from the point that I spoke with
     17      A.   Right.                                              17   the sheriff of Carter County, which was the phone call
     18      Q.   So that's called a night stick?                     18   after I spoke with Officer Dyer, I -- I relinquished
     19      A.   Yeah. That's still what I call it.                  19   the -- we relinquished the scene over to the sheriff's
     20      Q.   And my follow-up question was are your              20   department. So I -- their procedures, I couldn't tell
     21   officers allowed to carry a night stick if it's             21   you.
     22   approved?                                                   22     Q. Okay. Was the pistol -- or the gun that
     23      A. A night stick that -- the way you described           23   Charles Roper shot the Meseys' dog with, was that the
     24   the night stick?                                            24   same gun he was carrying on the streets as a training
     25     Q. Either -- either one.                                  25   reserve officer?



                                                                                                           8 (Pages 29 to 32)
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      1      A. No.                                                     1   you who he was with on that day?
      2     Q. Can you describe the differences of the guns.            2           MR. HARDEN: Same objections. Don't
      3      A. The information I read in the incident report           3   answer.
      4   of the sheriff's department is that he used a                 4           MR. SCHOTTEL: All right. Have that
      5   Springfield 45-caliber. I approved a 1911 for him to          5   question certified for the court.
      6   carry on duty. He had a separate gun that I had               6     Q. (BY MR. SCHOTTEL.) Did Charles Roper tell
      7   nothing -- I have no idea about, that he did not use          7   you that the dog tried to attack his wife?
      8   while under my care.                                          8           MR. HARDEN: Same objection. Instruct you
      9     Q. The one you approved, can you state that one             9   not to answer.
     10   again.                                                       10           MR. SCHOTTEL: Have that question certified
     11      A. It was a 1911. I -- I don't remember the               11   for the court.
     12   brand.                                                       12     Q. (BY MR. SCHOTTEL.) Did Charles Roper tell
     13     Q. Oh, okay. And a 1911 is just a handgun?                 13   you on the day of the incident he fired a warning shot
     14      A. Yes. I believe it had a blue handle on the             14   before shooting at the dog?
     15   1911, if I remember correctly.                               15           MR. HARDEN: Same objection. Instruct you
     16     Q. All right. With your training reserve                   16   not to answer.
     17   officers, do you give them any instructions of whether       17           MR. SCHOTTEL: Have that question certified
     18   or not to carry their gun when they're not working?          18   for the court.
     19      A. At the time, there was a policy for reserve            19           MR. HARDEN: Can we go off the record for a
     20   officers -- and all officers, part-time, full-time --        20   second.
     21   to -- that they could wear a concealed firearm or a          21               (OFF THE RECORD.)
     22   firearm, as long as they had a badge and a commission        22           MR. HARDEN: We're back on when he gets
     23   card. With Mr. Roper, he was still in training, and          23   done.
     24   did not have a badge and a commission card. And              24     Q. (BY MR. SCHOTTEL.) Do you know whether or
     25   because he was in training, we hadn't even made it           25   not Charles Roper was married or not?


                                                             Page 34                                                     Page 36
      1   that far --                                                   1     A. Yes. He was married, to my knowledge.
      2     Q. Okay.                                                    2     Q. Do you know his wife's name?
      3      A. -- to even have that discussion.                        3     A. I'm just drawing a blank.
      4     Q. And you said after the incident, he did come             4     Q. Have you -- have you ever --
      5   and talk to you after he shot the Meseys' dogs?               5     A. Donna.
      6      A. Not immediately, but yes.                               6           MR. HARDEN: You got it.
      7     Q. So when he came to you, what did he tell you?            7     Q. (BY MR. SCHOTTEL.) There you go. Have you
      8            MR. HARDEN: All right. So here's where               8   ever met Charles Roper's wife?
      9   we're going to object, on the basis that any                  9     A. I believe at last year's Christmas party.
     10   information that Chief Bradwell obtained after he            10     Q. Okay.
     11   received the call from Officer Dyer is privileged and        11     A. And maybe in passing, but --
     12   protected information as insurer/insured and                 12     Q. All right. Do you know where Charles Roper's
     13   attorney/client privileged information, and the              13   wife's father lived?
     14   material created or that he reviewed in the process is       14     A. Yes.
     15   also privileged and/or work-product protected,               15     Q. And where did he live?
     16   including intangible work product. Also,                     16     A. He lived at the end of Dale Street.
     17   communications between Mr. Roper and the police chief        17     Q. Okay. Do you know who his wife's father
     18   are privileged and protected under the Garrity rule.         18   lived with?
     19   Therefore, Chief Bradwell, I will instruct you not to        19     A. No, I don't.
     20   answer this question or anything related to those            20     Q. Okay. At the time of the incident, did you
     21   types of communications or material after you received       21   know where the Meseys lived?
     22   that call from Mr. Dyer.                                     22     A. I was told by Officer Dyer where this
     23            MR. SCHOTTEL: Can I have that question              23   incident occurred, and whose home they were at. So at
     24   certified for the court, please.                             24   that time, because of that, yes.
     25     Q. (BY MR. SCHOTTEL.) Did Charles Roper tell               25     Q. Okay. And what street was that, if you



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      1   recall?                                                   1               (OFF THE RECORD.)
      2       A. Dale Street.                                       2   (PLAINTIFF'S EXHIBIT 1 AND 2 MARKED FOR THE RECORD.)
      3       Q. After the incident, did you put Charles Roper      3     Q. (BY MR. SCHOTTEL.) I've just handed you
      4   on any administrative leave?                              4   Plaintiff's Exhibit 1. And it's a -- a few different
      5       A. He was not able to finish his training. And        5   documents combined to one for the ease of -- of this
      6   he was not able to be used as a call-in officer           6   deposition. Also, they're related. And your response
      7   pending the investigation from the sheriff's              7   to a Sunshine letter. Could you identify Exhibit 1,
      8   department.                                               8   the top page, and what it contains.
      9       Q. Okay. After the incident in question, did          9          MR. HARDEN: And I'll just object to form,
     10   you punish Charles Roper in any way?                     10   foundation and hearsay. Go ahead.
     11             MR. HARDEN: Object to form. This is the        11          THE WITNESS: This is a records completion
     12   same objection in terms of privileges and protections.   12   form in response to your second page of information --
     13   But also, I would add that there's confidentiality and   13   your request.
     14   privacy rules for employment files. I don't think        14     Q. (BY MR. SCHOTTEL.) And what else is after my
     15   there's a protective order in place at this point.       15   second page?
     16   And those types of issues directly fall under the        16          MR. HARDEN: I'll also object on the basis
     17   Garrity rule as well.                                    17   this is discovery on discovery. Go ahead.
     18             MR. SCHOTTEL: Well, we can agree that this     18          THE WITNESS: It's an officer narrative
     19   questioning could be -- this portion would be sealed     19   report by Officer Dyer.
     20   under the transcript, which would -- we don't need a     20     Q. (BY MR. SCHOTTEL.) And after -- after the
     21   protective order for that. We can agree that this        21   narrative report?
     22   question would be kept under seal in that way. If        22          MR. HARDEN: And then I'm going to object
     23   it's filed with the court, it's filed under seal.        23   on the last -- object to any examination, testimony,
     24             MR. HARDEN: I'll tell you what I'll do.        24   use or display of any Missouri laws or city codes or
     25   I'm going to instruct him not to answer, because I       25   ordinances on the basis that the court will instruct



                                                     Page 38                                                                   Page 40
      1   don't want to waive any privileges or protections.        1    the jury on the law, and that witnesses should not
      2   Okay. You can certify that one to the court. And if       2    testify about legal conclusions. Go ahead.
      3   there's a way that I can provide you the information      3       Q. (BY MR. SCHOTTEL.) Okay. This is -- those
      4   that you seek in that question in a non-privileged or     4    are documents you provided to me. Correct?
      5   protected manner, I'll provide it to you.                 5       A. I -- I believe so. I don't know if that was
      6           MR. SCHOTTEL: All right.                          6    its entirety. I'd have -- I don't know. I'd have to
      7           MR. HARDEN: All right. Otherwise, we can          7    look back at my records to show what I sent you. But
      8   either get back to him, or we can get it from someone     8    from what I can tell here from the document
      9   else if necessary.                                        9    description on this records completion form, it
     10           MR. SCHOTTEL: That's not the question. I         10    appears to be so.
     11   don't need to get -- if I want to ask the witness        11       Q. Okay. And that's your signature on the first
     12   questions, then I need this witness to answer            12    page. Correct?
     13   questions. And if you're instructing him not to          13       A. Yes.
     14   answer, then I have to have it certified by the court.   14       Q. And so did -- you did receive the April 2nd,
     15           MR. HARDEN: Okay.                                15    2019 Sunshine law request from my office?
     16           MR. SCHOTTEL: And we can bring it to the         16            MR. HARDEN: Object to form. Again,
     17   court's attention.                                       17    discovery on discovery and hearsay. Go ahead.
     18           MR. HARDEN: Okay.                                18             THE WITNESS: Yes.
     19           MR. SCHOTTEL: So have that question              19       Q. (BY MR. SCHOTTEL.) And in response, this
     20   certified for the court.                                 20    packet is what you returned to my office. Is that
     21           MR. HARDEN: Thank you. I guess I should          21    correct?
     22   incorporate by reference the same objections to the      22       A. Yeah. I believe I also made a phone call to
     23   same written discovery as well.                          23    your office because I was confused.
     24           MR. SCHOTTEL: All right. We can go off           24       Q. Right.
     25   the record for just a minute.                            25       A. Because we didn't work the case. And so I



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      1   wanted to make sure I sent what you needed. Yes.              1   objections, you'll see a sentence or two that'll
      2      Q. Okay.                                                   2   actually provide an answer sometimes. So if you see a
      3             MR. HARDEN: Same objections.                        3   big block of objections, and you're looking at this
      4      Q. (BY MR. SCHOTTEL.) Right. And outside that              4   for review, you might look to the end of that
      5   phone call, these are just the physical documents that        5   paragraph for an answer. Help shorten your review,
      6   you have mailed. Is that to the best of your                  6   probably. You remember these? Taking a look at
      7   recollection?                                                 7   these? All right. So you ready to go?
      8      A. Yes.                                                    8           MR. SCHOTTEL: Oh, yeah. He's looking
      9      Q. And the one-page reporting officer's                    9   through them. Just go through every page, and just
     10   narrative that you identified the list of items, the         10   check the last page. It's been a while.
     11   offense slash incident report narrative, that was by         11           MR. HARDEN: Well, if you want to ask him
     12   Officer Dyer. Is that correct?                               12   about something in particular, go ahead.
     13      A. Yes.                                                   13      Q. (BY MR. SCHOTTEL.) And Plaintiff's Exhibit 2
     14      Q. And is that the same Officer Dyer that called          14   I just handed you, those are your answers to
     15   you that you had mentioned earlier?                          15   interrogatories in this case?
     16      A. Yes.                                                   16      A. It appears so.
     17      Q. And you had also sent five pages of animal             17      Q. And I know it's been quite a while ago since
     18   regulations from the Van Buren city code.                    18   you answered them. I just wanted you to look at the
     19             MR. HARDEN: Same objections.                       19   last page. Is that your signature?
     20             THE WITNESS: Yes.                                  20      A. Yes, it is.
     21      Q. (BY MR. SCHOTTEL.) Why did you send the                21      Q. Okay. And does November 21st, 2019 sound
     22   animal regulations?                                          22   about right? Almost a year ago --
     23             MR. HARDEN: Same objections.                       23      A. Yeah.
     24             THE WITNESS: Your request was lastly,              24      Q. -- that you signed them.
     25   please provide any ordinances or local laws relating         25      A. Sounds right.


                                                             Page 42                                                           Page 44
      1   to dogs in the City of Van Buren.                             1     Q. You had mentioned that the Carter -- or
      2     Q. (BY MR. SCHOTTEL.) Okay. And at the time of              2   Carter County did the investigation with respect to
      3   the incident of Charles Roper shooting the Meseys'            3   Charles Roper and the shooting of the Meseys' dogs.
      4   dogs, do you have any knowledge of whether the Meseys'        4   Is that correct?
      5   dogs were leashed or not?                                     5     A. Yes.
      6     A. Prior to the incident, you said? Is that                 6     Q. Did your department do any investigation into
      7   what --                                                       7   Charles Roper's actions in shooting the Meseys' dogs?
      8     Q. Prior to the incident of Charles Roper                   8           MR. HARDEN: So I'll object to the extent
      9   shooting the Meseys' dogs --                                  9   that it calls for privileged or protected information,
     10             MR. HARDEN: And I'll just --                       10   including attorney/client, insurer/insured privilege,
     11     Q. (BY MR. SCHOTTEL.) -- do you have any                   11   work product, including intangible work product, or
     12   knowledge of whether or not the Meseys' dogs had             12   calls for information materially protected by the
     13   leashes on them?                                             13   Garrity rule that we discussed earlier. To the extent
     14             MR. HARDEN: So I'm going to object just to         14   that it's possible to answer the question without
     15   the extent it might call for privileged or protected         15   divulging anything that might be privileged or
     16   information, and instruct you to answer to the extent        16   protected, you may answer, otherwise I'd instruct you
     17   you know based on personal knowledge.                        17   not to answer. So --
     18             THE WITNESS: I -- I don't recall.                  18           THE WITNESS: I did follow up when the
     19             MR. SCHOTTEL: All right. If you'd hand --          19   sheriff's department -- with the sheriff's -- by
     20             MR. GRUMKE: What is that?                          20   reading the sheriff's department reports.
     21             MR. SCHOTTEL: Counsel --                           21     Q. (BY MR. SCHOTTEL.) And who did you follow up
     22          THE WITNESS: Want me to hand it to him?               22   with?
     23             MR. HARDEN: Answers to interrogatories.            23     A. The Carter County Sheriff's Department.
     24             MR. GRUMKE: Okay.                                  24     Q. Anybody in the -- or do you know the name?
     25             MR. HARDEN: At the end of the windy                25     A. I did a records request just like you did to



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      1   me, and they sent that over to me.                           1     A. Yes.
      2     Q. Oh. And I guess my question was outside of              2     Q. All right. How would his time be logged with
      3   just obtaining those records, did you do any kind            3   the department?
      4   of -- or did your department do any kind of                  4     A. A time clock.
      5   investigation into defendant Roper's actions on that         5     Q. Time clock? Okay.
      6   day.                                                         6     A. With a time card.
      7            MR. HARDEN: Again, same objections as               7     Q. And would that go for every officer, no
      8   before. Just immediately before. You may answer to           8   matter whether you're a reserve, full-time, or
      9   the extent you will not divulge privileged and               9   training?
     10   protected information. And I believe that by the            10     A. In most cases, yeah.
     11   scope of his question, that would include before -- or      11         MR. SCHOTTEL: Okay. One last exhibit.
     12   would include what Officer Dyer did. Right?                 12        (EXHIBIT 3 MARKED FOR THE RECORD.)
     13            THE WITNESS: Okay. So outside of what              13         MR. SCHOTTEL: Thank you.
     14   Officer Dyer has told me in that phone call, and            14     Q. (BY MR. SCHOTTEL.) And these are plaintiff's
     15   reading his report, and getting a records request from      15   second set of interrogatories to you. And flipping
     16   the sheriff's department, I did follow up with those.       16   through those, does that refresh your memory that you
     17   After that, take the advice of my attorney and not          17   had received those and answered those?
     18   answer any more of that substance of that question, I       18     A. Yes.
     19   guess.                                                      19     Q. And on the last page, is that your signature
     20            MR. HARDEN: Yeah. Well done. Thank you.            20   under verification?
     21            MR. SCHOTTEL: All right. Have that                 21     A. Yes.
     22   question certified for the court.                           22     Q. All right. And on the third page, it's --
     23     Q. (BY MR. SCHOTTEL.) In the city of Van Buren,           23   this one's not numbered. Some of the objections your
     24   are there occasions where large dogs are running loose      24   counsel stated here today are stated in the first half
     25   in the city?                                                25   of the answer. But then it says additionally, subject


                                                            Page 46                                                         Page 48
      1      A. We have received some calls of attacks.                1   to and without waiving any objection --
      2   Yeah.                                                        2          MR. HARDEN: Object to the extent that your
      3      Q. And what is the policy and/or procedure that           3   question's going to be a conduit for hearsay and
      4   the department takes when it receives those calls?           4   privileged and protected information. We maintain our
      5            MR. HARDEN: Just object to the extent that          5   privileges and protection. Move to strike any
      6   the scope's vague.                                           6   testimony of counsel about this.
      7            THE WITNESS: Generally, if a -- a dog gets          7          MR. SCHOTTEL: I'm just reading off his
      8   out of a fence or off a leash, and they're running           8   answer.
      9   around in the neighborhood, the on-duty officer would        9          MR. HARDEN: Which is hearsay.
     10   attempt to make contact with the owner, and most            10          MR. SCHOTTEL: How is it hearsay? It's his
     11   likely write a citation if it's -- sometimes they'll        11   answer.
     12   get warnings. It depends on the situation. It's --          12          MR. HARDEN: On that document, it's
     13   that's the end of that, I guess.                            13   hearsay. And we're maintaining our privileges and
     14      Q. (BY MR. SCHOTTEL.) Okay. What if the owner            14   protections, so -- go ahead.
     15   is not near, or if it's a dog that's unidentified?          15     Q. (BY MR. SCHOTTEL.) Okay. Beginning with the
     16      A. We're not a -- we're not animal control, so           16   word additionally, half down, could you read that
     17   we only enforce city ordinance by issuing criminal          17   sentence.
     18   summons, things like that.                                  18          MR. HARDEN: I'm going to instruct you not
     19      Q. All right. Did you have an animal control             19   to do that. I believe it would divulge the privileged
     20   unit you could call to assist you?                          20   and protected information we've been trying to keep
     21      A. Not at that time.                                     21   privileged and protected throughout this deposition.
     22      Q. Okay. Do you have one now?                            22          MR. SCHOTTEL: Well, it's been waived in
     23      A. No.                                                   23   this answer to interrogatory.
     24      Q. When Charles Roper was -- have to look at the         24          MR. HARDEN: I think you think it's been
     25   term -- a training reserve officer? Is that correct?        25   waived. I think it says subject to and without



                                                                                                      12 (Pages 45 to 48)
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      1   waiving, and then there's some responses there. So           1   just generally speaking.
      2   I'm going to instruct the deponent not to read               2     Q. Right.
      3   anything from there or respond from it at this time.         3     A. It would have to be approved.
      4     Q. (BY MR. SCHOTTEL.) Okay. So this says that              4     Q. Have you ever talked to Donna Roper about the
      5   Roper was not disciplined by this defendant -- meaning       5   incident of Charles Roper shooting the Meseys' dogs?
      6   you -- or the City of Van Buren, Missouri as a result        6     A. No.
      7   of any incident involving plaintiff's dogs on February       7     Q. Have you ever spoke to the Meseys about
      8   22nd, 2019. Is that true?                                    8   Charles Roper shooting their dogs?
      9            MR. HARDEN: Do not respond on the basis of          9     A. No.
     10   attorney/client privilege, insurer/insured privilege,       10          MR. SCHOTTEL: Okay. I don't think I have
     11   work product, and the Garrity rule.                         11   any further questions. Thank you for your time.
     12            MR. SCHOTTEL: Have that question certified         12          THE WITNESS: Do you want me to set these
     13   for the court.                                              13   back over there, or --
     14            MR. HARDEN: And that's what I meant by             14          MR. HARDEN: I can -- may I have these
     15   some other means. If you could be provided certain          15   copies?
     16   information, we'll provide it. You know what I mean?        16          MR. SCHOTTEL: Yeah, you can.
     17            MR. SCHOTTEL: I don't know anything what           17          MR. HARDEN: And then --
     18   you mean --                                                 18          MR. SCHOTTEL: The originals that you have
     19            MR. HARDEN: Okay.                                  19   go to the -- or can you initial them, and then I'll
     20            MR. SCHOTTEL: -- or said today, so -- I            20   probably keep them.
     21   don't.                                                      21          THE REPORTER: Before I do that, if no one
     22     Q. (BY MR. SCHOTTEL.) Was Charles Roper a                 22   else has any questions, can someone cover signature.
     23   reserve probationary officer?                               23          MR. HARDEN: Oh, yeah. So you have the
     24     A. Yes.                                                   24   opportunity to take a look at this, review it, and
     25     Q. And can you describe what a reserve                    25   make sure that it's all basically transcribed


                                                            Page 50                                                        Page 52
      1   probationary officer is.                                     1    correctly. I think I'll recommend you just take a
      2     A. They're on probation until they finish their            2    look at it, and then we'll sign, basically. Does that
      3   training. Or the other word would be reserve training        3    sound good to you?
      4   officer, or training reserve officer, however you want       4             THE WITNESS: Yeah.
      5   to put the word training in by reserve.                      5             THE REPORTER: So I will -- are you
      6     Q. And as you testified before, that's on a                6    ordering a copy?
      7   case-by-case basis?                                          7             MR. HARDEN: Yes. You get it to us, we'll
      8     A. I'm sorry?                                              8    get it to him.
      9     Q. On how long that lasts.                                 9             THE REPORTER: Okay.
     10     A. At that point, it was. I had just taken                10             MR. GRUMKE: I'll take an eTran as well.
     11   over.                                                       11
     12     Q. Sure.                                                  12       (Ending time of the deposition: 1:53 p.m.)
     13     A. So yes.                                                13
     14     Q. If a Van Buren Police Department officer has           14
     15   the appropriate credentials to carry a firearm, are         15
     16   they allowed to carry a firearm when they are not           16
     17   working with your department?                               17
     18     A. So at this time, the officer -- anything they          18
     19   do off duty that does not have to do with any law           19
     20   enforcement equipment, we do not have any oversight on      20
     21   something like that. If it's related to the law             21
     22   enforcement equipment that's provided or trained with       22
     23   for their job with us, then it has to be approved by        23
     24   myself, and they do need to make sure they have their       24
     25   credentials, if -- I guess it would be situational,         25


                                                                                                       13 (Pages 49 to 52)
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                                                               Page 53                                                       Page 55
      1                 CERTIFICATE OF REPORTER                           1    STATE OF ________ )
      2    STATE OF MISSOURI )                                                           ) ss.
                                                                          2    COUNTY OF ________ )
      3                    ) ss.                                          3
      4    COUNTY OF PHELPS              )                                4    I, ALONZO BRADWELL, do hereby certify:
      5                                                                   5       That I have read the foregoing deposition;
                                                                                  That I have made such changes in form and/or
      6                I, Sarah J. Pokorski, Certified Court              6    substance to the within deposition as might be
      7    Reporter within and for the State of Missouri, do                   necessary to render the same true and correct;
      8    hereby certify that the witness whose testimony                7       That having made such changes thereon, I hereby
                                                                               subscribe my name to the deposition;
      9    appears in the foregoing deposition was duly sworn by
                                                                          8       I declare under penalty of perjury that the
     10    me; that the testimony of said witness was taken by me              foregoing is true and correct.
     11    to the best of my ability and thereafter reduced to            9
                                                                         10
     12    typewriting under my direction; that I am neither
                                                                                     __________________________________
     13    counsel for, related to, nor employed by any of the           11
     14    parties to the action in which this deposition was                               ALONZO BRADWELL
     15    taken, and further that I am not a relative or
                                                                         12
                                                                         13      Executed this _____ day of ________, ____, at
     16    employee of any attorney or counsel employed by the           14    _______________________________________.
     17    parties thereto, nor financially or otherwise                 15
     18    interested in the outcome of the action.
                                                                         16    Notary Public:
                                                                         17    My Commission Expires:
     19            ____________________________                          18
     20                 Sarah Pokorski, CCR 745                          19    Signature page to: James W. Schottel, Jr.
     21                                                                        ALONZO BRADWELL, OCTOBER 30, 2020
                                                                         20    Mesey vs. City of Van Buren, Missouri
     22                                                                  21
     23                                                                  22
     24                                                                  23
                                                                         24
     25                                                                  25

                                                               Page 54                                                       Page 56
      1          Alaris Litigation Services                               1            WITNESS ERRATA SHEET
                 711 North Eleventh Street                                    Witness Name: ALONZO BRADWELL
      2          St. Louis, Missouri 63101                                2   Case Name: Mesey vs. City of Van Buren, Missouri
              Phone (314)644-2191 * Fax (314)644-1334                         Date Taken: OCTOBER 30, 2020
      3                                                                   3
      4   November 10, 2020                                                   Page #_____ Line #_____
      5                                                                   4   Should Read: ___________________________________
          Keck Phillips                                                       Reason for Change: _____________________________
      6   Ty Z. Harden                                                    5
                                                                          6   Page #_____ Line #_____
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                                                                              Should Read: ___________________________________
      7   Springfield, Missouri 65802                                     7   Reason for Change: _____________________________
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          In Re: Mesey vs. City of Van Buren, Missouri                        Page #_____ Line #_____
      9                                                                   9   Should Read: ___________________________________
     10   Dear Mr. Harden:                                                    Reason for Change: _____________________________
     11   Please find enclosed your copy of the deposition of            10
          ALONZO BRADWELL taken on OCTOBER 30, 2020, in the              11   Page #_____ Line #_____
     12   above-referenced case. Also enclosed is the original                Should Read: ___________________________________
          signature page and errata sheets.                              12   Reason for Change: _____________________________
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          Please have the witness read your copy of the                       Page #_____ Line #_____
     14   transcript, indicate any changes and/or corrections            14   Should Read: ___________________________________
          desired on the errata sheets, and sign the signature                Reason for Change: _____________________________
     15   page before a notary public.                                   15
     16   Please return the errata sheets and notarized                  16   Page #_____ Line #_____
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     23                                                                  23
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     24                                                                       Witness Signature: _____________________________
     25                                                                  25


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